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                 UNITED STATES DISTRICT COURT
                   DISTRICT OF CONNECTICUT
                                 COMPLAINT FORM

Alket Dajani                                                DA.TE

       Plaintiff(s)
                                                             CASE #:     J t{ .^i toSq
v

HOME POINT FINANCIAL CORPORATION, and
F'EDERAL NATIONAL MORTGAGE ASSOCIATES"

       Defendants"

NOW COME the Plaintiff and as his complaint Against the defendants; HOME POINT
FINANCIAL CORPORATION and FEDERAL NATIONAL MORTGAGE ASSOCIATES AS
follows:

                                     THE PARTIES

       l.      Plaintiff, Alket Dajani, is a natural man of full age of majority and an American

State National of Connecticut.


       2.      Defendant, HOME POINT FINANCIAL CORPORATION is a corporation with

its principal place of business in22l old Earhart Rd., Ann Harbor MI 48105, whieh does/was

doing business in Fairfield County Connecticut.

       3.      Defendant, FEDERAL NATIONAL MORTGAGE ASSOCIATES is a

Washington DC Corporation principal address I 100 l5th st. NW Washington DC. 20005 -1701

and Granite park VII, 5600 Granite Pkwy, Plano, Texas 75024 which does business in

Connecticut.

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                                       NATURE OF THE CASE

       Wrongfully Foreelosure:
               Foreclosure dooket# FBT-CV-XX-XXXXXXX-S filed on 11/2112022 and
               Wrongful Sale by Committee dated 8/31/2023 in Fairfield County Judicial Court
               of the premisses on the Property located at 60 Oxen Hill Road, Trumbull
               Connecticut by the defendant HOME POINT FINANCIAL CORPORATION.

2.     Deprive Secured Parties Rights to the Property.
              Defendant, FEDERAL NATIONAL MORTGAGE ASSOCIATES in attempt to
              deprive Alket Dajani's interest rights filed On August 14,2023 Secured Party
              Security Agreement between the Secured Party Creditor Alket Dajani and the
              Debtor ALKET DAJANI all caps name entity Security Agreement #
              AD-7401374SA recorded in Book lgl4Page 833 - 838 ofthe Trumbull land
              records and UCC-I Lien Filing # 0005159245 and UCC-3 Amendment Filing #
              00051 608 I 8 with Secretary Of 'l'he State Of- Connecticut on the premisses
              property located at 60 Oxen Hill Road Trumbull Connecticut.



                                       CAUSE OF ACTION

TI-IE FACTS

I, The plaintiff , Alket Dajani allege that the following of my constitutional rights privileges or

immunities or my rights under the federal laws have been violated and that the following facts

form the basis of my allegations...

        l.     on August 26,2019 ALKET DAJANI "OWED" HOME POINT FINANCIAL

CORPORATION $307,500.00 as evidence by a promissory note for said sum dated on said date,

For Home Point Financial Corporation as the Holder of the Note (see exhibit A, pages 1 ,2

and 3 original copy provided to plaintiff on the closing date august 26,2019).

        2.     On November 7,2022 plaintiff,, Alket Dajani sent certified mail, return receipt #

70220410000073950503 a 1099.{ Acquisition or Abandonment of Secured Property IRS form

(see oopy exhibit B, pages   I and2) to Home Point Financial Corporation CEO William A.

                                               page 2 of5
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Newman at221l Old Earhart Rd., Ann A.rbor, MI 48105 as a f-ull payment.

       3.      The Plaintiff, Alket Dajani mailed out Mortgage Statement Remittance Coupon

endorsed front and back dated November 16,2022 in the amount of $336,492.47 (see exhibit C,

pages land 2) with the plaintiffs , Alket Dajani beneficiary's signature to lJome Point Financial

Corporation.

       4.      On December 23,2022 plaintiff Alket Dajani received a correspondence from

Customer Experience Team Home Point Financial Corporation Maryland Hubbard (see exhibit

D, pages I and 2) which denied the payment presented by plaintiff Alket Dajani with a 1099,4

Acquisition or Abandonment of Secure Property IRS form as a result the foreclosure on the

premisses was filed with Judicial Branch.

       5.      On August 14,2023 Security Agreement between the secured party creditor,

Alket Daiani and a debtor ALKET DAJANI all caps name entity (security agreement #

AD-7401374-SA see exhibit H, pages 1,2,3,4,5 & 5) was executed and recorded in Book tr9tr4

Page 833 - 838 of the Trumbull Connecticut land records.

       6.      On August 14,2023 the Creditor, the plaintiff, Alket Dajani filled UCC-l Lien #

00051 59245 and on august 22,2023 the Creditor, the plaintiff, Alket Dajani filled a UCC-3

Amendment # 0005160818 on the debtor ALKET DAJANI and on the Property 60 Oxen Hitl

Rd., Trumbull, Conneeticut for the Secured Party interest"

        7.     Defendant, F-EDERAL NATIONAL MORTGAGE ASSOCIATES caused a

NOT'ICE TO QUIT POSSESSION action on the plaintiffdated3122/2024.

        8.     Defendant, FEDERAL NATIONAL MORTGAGE, ASSOCIATES claims that



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HOME POINT F-INANCIAL CORPORATION conveyed the premises to FEDERAL

NATIONAL MOR'IGAGE ASSOCIATES by virtue of QUIT CLAIM DEED which was

recorded November 30,2023 in a book l9l9 at page 897 of the Trumbull land record.

       9.     The defendant FEDERAL NATIONAL MORTGAGE ASSOCIATES served the

Plaintifl Alket Dajani with the "Change of Ownership and Notice to Vacate" dated December

13,2023.

       10. On March 26,2024 the defendant, FEDERAL NATIONAL MORTGAGE
ASSOCIATES caused the NOTICE TO QUIT (END) POSSRSSION of premises belbre April

30,2024.

       11.    On April 2,2024 the plaintiff, Alket Dajani mailed aNOTICE TO CEASE AND

DESIST letter (see exhibit E), UCC-l lien(see exhibit F, pages I &2) and UCC-3 (see exhibit

G) filing of a lien on the debtor ALKET DAJANI and on the property 60 Oxen Hill Rd.,

Trumbull, Connecticut, with a copy of secured party Creditor Alket Dajani and Debtor ALKE'I'

DAJANI agreement (see exhibit H, pages 1,2,3,4,5 & 6), and secured party creditor Alket

Dajani's which was recorded in tsook 1914, Pages 833 - 838 of the Trumbull Land Record,

and copy of Notice of Intent-Fee Schedule (see attached I, pages 1,2,3,4,5,6,1 &' 8)

which was recorded in Book 1924,Pages 487 - 494 of the Trumbull Land Reeord to;

l{ome Point Financial Corporation, certified mail retutn receipt# 70203160000129582413

Federal National Mortgage Associates, certified mail return receipt# 70203160000129582345

McCalla Raymer Leibert Pierce LLC., certified mail retum receipt# 70203160000129582338

CT State Marshall et. al. Thomas F'oldy, certified mail retum receipt# 70203160000129582321.


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       12. On May 6,2024 Plaintifl Alket Dajani was served with the SUMMONS,
SUMMARY PROCESS (EVICTION) from defendant, FEDERAL NATIONAL MORTGAGE

ASSOCIATES.

WHEREFORE, the plaintiff, Alket Dajani: claims judgement for damages, immediate possession
of the promises property located at 60 Oxen Hill Road Trumbull Connecticut near 0661I and
such other relief and further equitable relief it may be required by UCC lien, Notice Of Intent-
Fee Schedule and by law.



Do you wish to have ajury trial?                             No


       This action is within jurisdiction of United States District Court district of Connecticut.

       Dated at Trumbull, Connecticut, June        I 8 ,ZOZ+

                                           The Plaintiff
                                           Alket Dajani
                                                                      c
                                                             I
                                           By:                                                            a


                                           uccl-308 ARR,                                       recourse
                                           c/o 60 Oxen Hill Road,
                                           Trumbull, Connecticut [0661 1 ]
                                           (203) 650-8416



                      DECLARATION LINDER PENALTY OF PERIURY

               The undersigned declares on the penalty of the perjury that he/she is the plaintiff
       in the above action, that he/she has read the above complaint and that the information
       contained in the complaint is true and correct. 28 USC $ l7a6; 18 USC $ 1621.


       Executed at      BLtU eePolf.G'                                on
                                      (location)                                           (       )
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                                              page 5 of5
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                                                       NOTE
                                                                                     DA.IANI
                                                                                     Loan #: ?000170315
                                                                                     MIN: 100 6611 900029232 63
        AUGUST 26, 20!9                            PARSTPPANy,                                 NEW ;IERSEY
                [Date]                                   lcitvl                                   IState]

                                 50 ol(EN HrLL RD, TR(MB{ILL, CT 06611
                                                  [Property Address]

1. BORROWER'S PROMISE TO PAY
         ln retum for a loan that I have received, I protrise to pay U.S. $307 ,5oo . 0O (this arnount is called
"Principal"), plus iuterest, to the order of the Lender. The Lender is ftOME POINI FINAI{CIAL CORPORATION.
I will make all payments under this Note in the form of cash, check or money order.
         I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer
and who is entitled to receive payments under this Note is called the "Note Holder."
2.INTEREST
         Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay
interest at a yearly rate of 5.I25%,
         The interest rate required by this Section 2 is the rate I will pay both before and after any default described
in Section 6(8) of this Note.
3. PAYMENTS
         (A) Time and Place of Payments
         I will pay principal and interest by making a paymeirt every rnonth,
         I will rnake my monthly paymont on the 1ST day of each month begiruring on OCTOBER 1, 2019. I will
make these paynents every month until I have paid all of the principal and interest and any other charges described
below that I may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will
be applied to interest before Principal. If, bn SEPTEMBER 1, 2049,I still owe amounts under this Note, I will
pay those arnounts in full on that date, which is called the "Maturity Date."
         I will make rny rnonthly payments at PO BOX 790309, ST LOUIS, MO 63179*0309 orata
different place if required by the Note Holder.
         (B) Amount of Monthly Payments
         My monthly payment will be in the amount of U.S. $1 , 674 . 30.
4. BORROWER'S RIGHT TO PREPAY
        I have the right to make payments of Principal at any time before they are due. A payment of Principal only
is known as a "Prepayment." When I make a Prepayment, I will tell the Note Holder in writing that I am doing so. I
may not designate a payment as a Prepayment if I have not made all the monthly payments due under the Note,
         I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note
i{older will use my Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note
I{older may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying
my Prepayment to reduce the Principal amount of the Note. [f I make a partial Prepayment, there will be no changes
in the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to those changes.
5. LOAN CIIARGES
          If a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then; (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit;
and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The Note

N{ULTISTATE FIXED RATE NOTE --Single Farnily-- Fannie Mae/Freddic Mac UNIFORM INSTRUMENT
{+t 5.66                                                                              Form 3200 l/01 (page I of j pages)


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Holder may choose to make this refund by reducing the Principal I owe under this Note or by making a direct
payment to me. If a refund reduces Principal, the reduction will be treated as a partial prepayment.
6. BORROWER'S FAILURE TO pAy AS REQUIRED
         (A) Late Charge for Overdue Payments
          If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days
after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be 5. 000% of my
overdue payment of principal and interest. I will pay this late charge promptly but only once on each late payment.
          (B) Default
         If I do not pay the full amount of each monthly payment on the date it is due, I will be in default.
         (C) Notlce of Defoult
         If I arn in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of irrincipal which
has not been paid and all the interest that I owe on that amount. That date must be at least 30 days after the date on
which the notice is mailed to me or delivered by other means.
        (D) No Waiver By Note Holder
         Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
described above, the Note Holder will still have the right to do so if I am in default at a latir time.
          @) Payment of Note Holder's Costs and Expenses
          lf the Note Holder has required me to pay immediately in full as described above, the Note Holder will
have the right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not
prohibited by applicable law. Those expenses include, for example, reasonable atiorneys' fees.
7. GTVING OF NOTICES
          Unless applicable law requires a different method, any notice that must be given to me under this Note will
be given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different
address if I give the Note Holder a notice of my different address.
          Any noticc that must be given to the Note Holder under this Note will be given by delivering it or by
mailing it by first class mail to the Note Holder at the address sated in Section 3(A) above or aia different address if
I arn given a notice of that different address.
E. OBLIGATIONS OF PEITSONS UNDER THIS NOTE
          If more than one person signs this Note, each percon is fully and personally obligated to keep all of the
promises made in this Note, including the promise to pay the full amount owed. Any p"tson who is a guarantor,
surety or endorser of this Note is also obligated to do these things. Any person who takes over these obligations,
including the obligations of a guarantor, surefy or endorser of this Note, is also obligated to keep all of the piomisej
made in this Note. The Note Holder may enforce its rights under this Note against each peison individually or
against all of us together. This means that any one of us may be required to pay all of the amounts owed under this
Note.
9.WATYERS
        I and any other person who has obligations under this Note waive the rights of Presenmretrt and Notice of
Dishonor. "Presenffnent" means the right to require the Note Holder to demand payment of amounts due.
                                                                                                         "Notice of
Dishonor" means thc right to require the Note Holder to give notice to other persons that amounts due have not been
paid.
10. UNIFORM SECT]RED NOTE
         This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the
protections given to the Note Holder under this Note, a Mortgage, Deed of Trust or Security Deed (the
                                                                                                           "Security
Instrument"), dated the serne date as this Note, protects the Note Holder from possible losses which might result   ifi
MULTISTATE I'IXED RATE NOTE -Single Family* Fannie Mae/Freddie Mac UNIFOR]I INSTRUMENT
e  5.66                                                                        Form 32lXl UOl (paee 2 of i pases)


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do not keep the promises which I make in this Note. That Security Instrument describes how and under what
conditions I may be required to make immediate payment in full of all amounts I owe under this Note. Some of
those conditions are described as follows:
                   Ifall or any part ofthe Properry or any Interest in the Property is sold or tansferred (or if
          Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
          without Lende/s prior written consent, Lender may require immediate payment in full of all sums
          secured by this Seourity Instnrment. However, this option shall not be exercised by Lender if such
          exercise is prohibited by Applicable Law.
                  If Lender exercises this option, Lendcr shall give Borrower notice of acceleration. The
          notice shall provide a period of not less than 30 days from the date the notice is given in
          accordance with Section 15 within which Bonower must pay all s'ms secured by this Security
          lnstnrment. If Borrower fails to pay these sums prior to the expiration of this period, Lender may
          invoke any remedies permitted by this Security Instrument without further notice or demand on
          Borrower.


WITNESS TTIE                       SEAL(S) OF THE UNDERSIGNED.



- BORROITTER                  DE"IN{I

                                                                                                  [Siga Original Only]

Individual Loan Originator: itEAliUNE l"tARIE NORI{OOD, NMLSR ID: 690g10
Loan originator organization: FATRFTET,D HoME roAl.Is, LLc, NMLSR rD; L1o7a24
Loan Originator organization (creditor): HoME PoIN! FINAITCIAIJ coRpoRAtIoN, NMLSR ID:77O6




MULTISTATE FIXED RATE NOTE -Single Family- Fannle Mae/Freddie Mec UNIFORM INSTRUIIIENT
(B 5.65                                                                      Form 3200 ll0l(page 3 of j pages)

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      homepoint
      P.O. Box t00}8t

      Duluth, GA30096-9?77

      December23,2A22



     Alket Dajanl
     50 Oxen Hlll Roadg0l
     Trumbull Cl 066L1


     Loan Number:901/;06L660



     DearAlket Dajam,

     tlome Polnt Finandal Corporation (HomePolnt) ls in r€ceiptof the correspondence received on
     Deember14,2(X22,in onnection with the above reFrenced ten-

    ln the inquiry received you ogressed concern ftat the abore referened acount
                                                                                     had been paid in full
    as of Noyember !4,2A?Jl-plasefind our response below.


    DebtValiffion
    We recefued  purorrespondence     and have determined thatwe'ue previously responded to part of
    your ingulry and no addttional documenffion or lnbrmation uas provlded.
                                                                                We,ve endosed our
    previous response dated Novem ber ?.8, 2O?2, lor your reference
                                                                    and will be proddlrU our resolution to
    yournew@ncern.

    Payotr nequ€st and illgll-A
    HomePoffi aacepc payoff funds through certtffed or wired funds only. we have no record
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    funds to pay your aacourrt in full. The amunt stat$ ts currendy duelor the Juh r,
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    Please contact us at 855€99-3056 Monday through Frlday from 8i3O AM to g:00 pM
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    questlors. You can also reach usvla email atsupport@nryhornepolntseruldng,com,




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Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 14 of 32




 Slncerely,


 b4nrilawttrilzlwrd,

Customer Experience Team
$lome Point Pinancial Corporatlon
NM157706

Enclosure(s)




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         Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 15 of 32




                       NOT|$F T0 CImASffi ArSm nE$ffiT

From: ,{lket Dajani
        cloffi Oxen Hill Road
       Trumbull, Connecticut, [066] 1]


Re: Notice To Cease And Desist S'or Specific Activity

Dear Home Point Financial Corpomtion et. al., Federal National MortgageAssociates etal.,
Keu0en Mannlng, bsq., and McLAlla Kaymer l.€lben Fterce, Ll.ru.n and'l'nomas f,oldy
Connecticut State Marshall et. al.

This Irtter is served upon due to Home Point Financial Coqporation, Federal National Mortgage
Associates et.al., Reuben Manning, Raymer McCalla, Pierce Leib€rt and McCalla Raymer
kibert Pierce, LLC., Connecticut State Marshall et. al. Thomas Flody ('Activity").

lf do not ceasp thp afor-cqqentiqned$q$ivff a XawsEit w&-be cgmmenqe agalnqt yg&
If the Activity continues we will immediately seek a temporary restraining order in District Court
against you all individually and any accomplices in this matter.We will also sick monetary
damages as per Notice Of Intcnt- Fee Schedule attached to be proven at trial. Hopefully this
recourse is not necessary, we have our own interest to protect and will vigorously do so.

You will not receive another warning letter. If you do not confirm in writing to us in 14 days
upon receive of this notice that you will cease violating ourAgreement a lawsuit will be
commenced immediately.

Attached you'll find (UCCI & UCC3 lien per secured parties interest and the fee schedule) all
nece$sary papsr copies from Secretary of the sTate of Connecticut and County Recorders office
Trumbull CT to understand the intent.



                            f   9t
Sincerely,
                  {,
UCC1-3OE ARR without                         r@ourse



Certified mail return receipt#702031ffi0012958%13 Home Point ltnancial Corporation
Certified mail freturn receipt#7020316m0n9582345 Federal NationalMortgageAssociates
Certified mail return receipdt 702031600(P129582338 McCalla Raymer tribert Plerce LLC.,
Certified mail return recerpt# 702031600{nn9582321CT State Marshall et. al. Thomas Foldy.

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        Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 16 of 32


                 Secretary of the State of Connecticut
                 UCG-I Original Financing Statement

Filing Details

F'iling Number: 00051 59245                  Filed   On: eh4n02g 2:07:08 PM
Submlttcr lnformation

Contact Name: Alket Dajani
Phone Number: +12036508416
Email Address: alkdaja@yahoo.com
Mailing Address:

Dcbtor lnformation

Organization Name: ALKET DAJANI
Mailing AddreeE: 27 SUBURBAN AVE.,, 2ND FLOOR
Crty:              BRIDGEPORT State:          CT
  Code:
Zip                  06604-1202     Country:  United States

Secu red P arty lnformation

Organization Name: Alket Dajani
Mailing Address: Rural Free Delivery
City:              Republic of               State:        CT
                   Connecticut
ZpCode:            00000                     Country: United States
Collateral lnformation

This financing statement @vers the following collateral:
This is Actual and Construstive Notice that all of the Debtors intereet novv on or here
after acquire as here by except it as collateralfor securing contractualobligation end of
the Secured Party as detailed in a true, correc't, complete, notarhed security agreement
No. AD-74010374-SA recorded at the county recorders offie dated Fourteenth day of
Eighth month in Year Twenty Thousand Twenty -Three. lnquiring parties may consult
direc'tly with the Debtor.

CollateralType

Administered by Decedent's No
Representative:
Held inTrust               No


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        Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 17 of 32


                 Secretary of the State of Gonnecticut
                 UCC-{ Original Financing Statement

Alternative Designation

Lessee/Lessor:                No
Consignee/Consignor:          No
Seller/Buyer:                 No
Bailee/Bailor:                Yes
Licensee/Licensor:            No

Filing Type

Transmitting Utility:         No
Public Finance:               No

Filing lnformation

Optional Filer Reference: N/A




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                                  Secretary of the State of Connecticut
                                  UCC-3 Financing S-tatement Amendment

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                                      SECURITYAGREEMEN]                                      Type: LAN
                                                                                             E3E
                                            No. AD-74010374-SA
                                 Non-Negotiable Private Benven the Parties
Secured Party/Creditor:


Alket Dajani.
c/o,60 OxenHillRoad
City, Trumbull, Connecticut [066] U

Debtor:

ALKET DAJA}.II
60 O)GN HILL RD
TRUMBULL, CT 06611


This perpetuating Sccurity Agrcement is mutually agreed upon and entered into on the Eleventh
day of the Eighth month in the year of our Lord Tlvo-firousand-Tlventy-Tbo between the
artificial persoq ALKET DAJAI{I, and any and all derivatives and variations in the spelling
                      ooAlket
of said nam€ except,          Dajani", herein jointly and severally *Debtor'o and the living,
breathing, flesh-and-blood mar/woman, known by the distinctive appellationAlket Dajani,
hereinafter Secured Party and Creditor.



                                      AGREEMENT

Creditor agrees to administ€r any and all claims derived from the original Security,
Naturalization Certificale No.#; 30711517, for the beneficiary, ALKET DAJAIiI, SIN/SSN:
044F0+7026. Assignment of the UCC-I Financing Statement goes to the Secretary ofthe
Treasury, lien holder.

In Consideration for Creditor (a) constituting the souice, origin substance, and being, i.e., the
basis of "pre-existing claints" from which the existence ofDebtor is derive( and the basis upon
which Debtor firnotions as a transmitting utility, i.o., serics as a condui! granting Creditor
capacity for interacting, discharging debt, accepted for value, contracting, and exchanging goods
and services in commerce with other artificial persons; (b) constinrting the source of Debtor's
assets, via the s€ntiment existonce, exercise of faculties, and labour of Creditor which, provides
valuable consideration sufficient for supporting any contract whatsoever that Debtor may execute
and concerning which Debtor may be regarded as bound, (c) providing the security for payment
of all sums now due and owing, and as might become due and owing, by Deb,tor, Debtor for
valuable consideration, does hereby and herewittr Agree and Covenant that Debtor shall

Page 1 of   6 sA#ed:74010314                                        Secured PutylAlkefl Dajani
                              Forthe s€ourity agreemsff 2073by AlketDaJui




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          Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 20 of 32
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undertake the obligation functioning and serving as a transmitting utility for the benefit of
Creditor, granting Creditor ability for engaging in commerce with other artificial persons.



                                       SCHEDULE .6A"

This schedule A date itAugust 14,2023 incorporated in the secudty agreement dated the sarne
date, as though fully set forth therein. The following partial itemization ofproperly constitutes a
portion of the collateral referonced in said secuity agreemen! and is not intended to represent
the actual and fulI extent of said collateral. This Schedule A supplement security agr€ements
describing collateral, that may have been entered by the same parties.

@ne$v'@
              All that certainpiece orparcel of land, togetber with all buildings and
improvements they're on standing, situated in the toum ofTrumbull, county ofFairfield and the
State of Connecticut at 60 Oxen Hill Roa4 known as descdbed as Lot No. 20 on a certain map
                                                                                 :
entitled "Map of the Loe in Tnlnbull Connecticut For John Bargas, scale I iin 100 ft.,
September 12,1960- omade by Frank C. Penny, Engineer & Surveyor and filed for record in the
Tnmbull Town Clerk'sOffice as Map No. 1005, said promises being more particularly bounded
and described as follows:

Northwesterly: by land ofAndrony Calandro, 150-07 feet;

Northeasterly: by Lot No . 17 on said map, 300.1 7 feeq

Southeasterly: by Oxen Hill Roa{ as shown on site map, 150 feet;

Southwesterly: by Lot No .21, on said map, 295.64 feet.



               All that certainAutomobile, as described onVin# WDDUG8FB8EA065478,
2Ol4 Mqcedes-Benz 3550 4matic..

               All that certain Automobile/Van, as described on Vir# U/D3PF0CD9KT005236,
201 9 Mercedes-Benz SPrinter.



l. Private seourity agreement and all other documents referenced herein creatlng a collateral
security interest and listing general allocate the property.
Additional Specific properly listed as follows:


Page 2   of6 gfu#ad-74010374                                          Secured Party ; Alkct; Dajani
                                Forthe security agreement AABW Alket Dajani




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            Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 21 of 32
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2.


3.

4.


5.

6.


A. income from every source.

B. Proceeds of Secured Parly's labor from every source.

C. Application for The United States ofAmerica Naturalization Certificate No. 3A7n5fl, and all
othEr Certificates of Birth, Certifioatcs of living Birfl,Notification of Registrations of Birth or
Certificate of Regishation of Birth, or otherwise entitled docurnents of birth whether county,
state, federal, or other either describe to or derived from the name of the debtor identified above
or based upon the abovc described Birth documents.

D. Location for Social Security number 044;047026, Social Security number 044-A4-7026,
Connecticut drivers license nusrber 177766372. All properfy listed on the legal notice and
demand that is filed in State of Connesticut register of deeds office are the sole properly ofAlket:
Dajani, the Seoured Party Creditor. These items ofproperty cannot be taken, used, duplicatsd,
confiscated, confined, resbaine4 abuse4 damaged" influence, orremoved from the Secured
Party Alket: Dajani, without his voluntary, unitten pennission. Any violation of this agreement
will constitute a penalty of one hundrcd million 99.999% one ounce silver coirs, per occurrence,
per officer or agent involved. This is a contact in admiralty and you may rebut this within 2l
days. Rebuttal must be per conditions in a"LegalNotice and Demand" that is on file, along with
this documen! and the register of deeds office in Cormty ofFairfield State of Connecticut.

All proporty belonging to the Debtor belongs to the Credito4 including equity and
impnovemenfu.

See UCC-I, and Legal Notice and demand for complete property lict



                                       IIYDEMMTYBONI)

For valuable consideratiorq Debtor hereby agrees and covenants, without benefit of discussions
and without division, that Dsbtor holds harmless and undertakes the indemnification of oreditor
from and against all claims, legal actions, wanants, judgements, demands, liabilities, losses,

Page 3 of   6 st#ad440t0374                                           Secured Patry;Alket Dajani
                               For the security agreeinent 2023 by Alket Dajaoi




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          Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 22 of 32
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depositions, sufiunon$es,lawsuits, costs, fines, lienso levies, penalties, damages, interest, and
expenses. Whatsoever, both absolute and contingent are due and might become due, now existing
and might hereafter arise, and might be suffered/incurred by, as well as imposed on Debtors, for
any reason, pu{pose or cause whatsoever, be considered an aecompanylng PuW, nor a surety for
Debtor.

Know all men by these presents, that ALKET DAJANI, the debtor, here by established says this
indemnity bond in favor of, the Secured Parly, in the sum of a present and future collateral values
up to the sum of one hundred million United States dollars (100,000,000.00), in silver dollar's,
fiat money or money of accounVcredit upper value, for the payment of which band the dead are
here by family binds its successor, heir, executors, adminishators, DBA's, A.K.A's., and third-
party signs, jointly and severally. The debtor here by indemnifies the secured party against losses
incurred as a result of all claims of deaths or losses made by atry and all persons against the
commercial transactions investments of the debtor. The condition ofthis band is that secured
parly covenants to do certain things on behalf of the debtors, as set forth in the security
agreement of the same date and executing parties; and debtor covenants to serve as a transmitting
utility to ensure beneficial interest in all accounts established and managed by the UNITED
STATES and its agent(s/ agencies, corporations or otherwise; and all goods and services in
commerce are available to or conveyed from debtor to Secure party, urhichever is appropriate.
To avert losses of vested rights in the present or future collateral that is the subject of the
attached security agreement, Debtor agrees to make available to the Secured Party, such accounts
established by intent of the parties, by operation of law, and/or as constructive trusts, to hold
proceeds arising from assets belonging to the debtor, and administered by the UNITED STATES
or its subdivisions, agents, or affiliates. Pursuant to existing laws of the UMTED STAIES and
the agreement of the parties of the attached security agreement, the secured party is authorized to
sign such funds from Sarah counts as are necessary to set it all past, present, and future public
debts and obligations incurred by the debtor on behalf of the secured pa4y.

The Debtor, without the benefit of discussion or division, does hear by agrees, covenant, and
undertake to indemnify, defend, and hold the Secwed party harmless from and against any and
all claims, losses, liabilities, costs, interest, and expenses including, without restriction, legal
costs, interest, penalties, and fines previously suffered or incurred, or to be suffered or incurred
by the Secured Pur,ty, in accordance with a secured parties personal guarant€e with respect to
loans and indebtedness belonging to the deck door, including any amount of debtor. might be
deemed to all in public credit there for any reason whatsoever.
The Secured p*ty shall promptly advise a better of all publio claims brought by third parties
against tlee present and future property of,the Debtor, all of which is covered by the attached
security agreement up to the indemnification amount declared herein and to provide the Debtor
with full details of set elaims, including copies of all documents, cotrespondence, suits or actions
received by or served upon the Debtor through the Secured Parly. Secured Party shall fully
ooopcrate with diseussioq negotiation, or other proceeding relating to sueh claims.



Fage 4 of 6 SA# ad-74010374                                       Seeured Party; Alket: Dajani
                               For the security agreement 2023by Alket Dajani




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            Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 23 of 32
                                                                                  ltfiLlq lii plst083l

 This bond shell be in force and effect as ofthe date it is signed and excepted by the parties and
provided that Sectred Party may cancel this bond and be relieved of further duty herc and thsre
by delivering athirty (30) day unitten notice of cancellation to the Debtor. Such cancellations
and effective liability accurate by or accrued to secure parfy prior to ttre conclusion of said thirty
(30) day period. In such events ofnotice of cancellation, and inthe events ofthe LJNITED
STAIES re-institutes ifs consfructive claims against the collateral, the Debtor agrees to reissue
the bond before the end of the thirty (30) day period for an amount equal to or greaterthan the
above value ofthe attached security agreemenf unless the parties agree otherwise.



                                       NOTICE OT'LIEN

This agreement constitutes an International Commercial Lien on all properties listed on Schedule
A
        1. 60 Oxen Hill Roa{ Trumbull, Connecticut for United States dollars ($800.000.00), in
Silver Dollar's, Fiat money, or money of account/credit at per value.

      2. Automobile, as described on Vin# WDDUG8FB8EA065478, 2014 Mercedes-Benz
3550 4matic. for sixty thousand United States dollars ($60,000.00), in Silver Dollar's, Fiat
money, or money of accounUcredit at per value.

         3. Automobile, as described on Vin# WD3PF0CD9KT005236, 2019 Mercedes-Benz
Sprinter for sixty thousand United States dollars ($60,000.00), in Silver Dollat's, Fiat money, or
money of account/credit at per value.
This lirik will expire at the moment that the indemnity expires or when there's lane is satisfied by
a third-party Interlope who seeks to take/sees any of said properties.



                                       A]VIENDMENTS

This Agreement may be altered or amended only by an agreement in writing signed by both the
Debtor and the Creditor. Notice to the Lien Holder of any such alteration or amendment shall in
no event be required. In the event of any such alteration or amendment the Lien Holder shall not
be affected in any manncr whatsoever.



                                       A.D\IISORY

This Security Agreement supersedes all previous contracb or security agreemenb bet'ween
Debtor and the Creditor. Applicable to all Successors and Assigns. Creditor may terminate this
agreement at any time. Termination is effeetive the date ofthe notice ofthe termination is
received by the Debtor. This is a continuing Security Agreement and perpetuates in effect until

Page 5 of   6 g*#ad.74oto3?4                                           Seoured P*ty;Alket: Dajani
                               For the sectuity aexeement 2023 by Alket Dajani




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         Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 24 of 32
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 death, i.e., permanent cessation of all vital function and faculties of Creditor,

Certified Court ofRecord is Convened upon Confirmation ofDelivery of these presents File #
No. MS-211121-SA, Register areg. mail number7022 0410 0000 74010374.

                                         C&R,T'{S'[CAT'TON

This Security Agreernent No. AD-74Arc374-SA is dated: The Fourteenth day of the Eighth
month in the year of our Lord Two-Thousand-Twenty-Three.

Debtor: ALKET DAJANI, Naturalization Certificate No. 3071 I 5 I 7

Signature:

Creditor accepts Debtors Signature inAccord with UCC$ l-201 (37),3-401(b).

I, Alket Dajani, Creditor, certi$r that:
I have attained the age of majority, I have first-hand knowledge of the ftcts contained herein, and
to the best of my knowledge and belief, the foregoing document is a true, correct, and complete
record of the securiff agreement between the Farties designated therein under the pains and
penalty of perjury so help me God. All rights reserved, without prejudiee.
                                                                                     Alket: Dajani.
                               Secured Party, Creditor, and beneficial owner ofALKET DAJANI.

                                             Date: lTN * /                 4_ 2O2_\
                                        Signafure:

Use of the notary does not stipulate to an election to submit to the jurisdiction.

                                       .TUR^AT'


Sworn and subscribed before me by: Alket: Dajani,in Trumbull, Connecticut, this ft<ffA"y ot
Avga'{- ,zoz:.
                                     IN WITNESS WHEREOF,I have hereinto ser my hand and



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seal
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                                                                            "nfM€ffiSffi
                                                                         8.@yh$Sc,StffidM
Notary       lc                                                          W CofiKnlaehfi E,q,SB8 Jafi,31.Xtn


Page 6 of 6. sA*.taa-74oroi74                                                      Secured Party; Alket: Dajani
                                Forthe security agreement 2023by AlketDajani


                                             fOWI.T CLERK OFFICE, TRUMBULL, CT

                                             REfiEbVED         RECORD


                                                                                                       CLERK
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       Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 25 of 32

              NmG cpF &Evrtttf- ffi                                               SGtEAuzE
 To Whom lt May Concern:
         The annexed Notice of lntent - Fee Schedule is a schedule of mandatory
                                                                                        fees
  instated by the Se3yred Party Greditor, Alket DaJani @,
                                                             Authorized Repiesentative
  behalf of ALKET DAJANI @, Ens Legis. l, Alket bajani @, do hereby
                                                                                              on
                                                                                              E
                                                                             Jt rorg, fees    to
 be instated.in any busilery dealing with Alket Daiairi@, for anv Oueinese
 relevant to this schedule. Fees are due and MUSi be paid before said
                                                                                   conducted =-a
                                                                                              r\)
 commence. ln the event that invoicing becomes ne@ssary, invoied amounts
                                                                              business can
                                                                                     aredue   5
 !fieen days after day of receipt. lf said fees are not met, ifis the right of the  Secured   E
 Party Creditor, Alket Dafanl @, to refuse orvoid any form of businLss interaction
                                                                                       and/or cr
 transaction. Fees are subiect to clrange at any timewithout prior notice. secured     p"rtv  -F
 Creditor, Alkat Daia{ @, is the only Authorized Representative to after, void,
 enfore said fees and may do so at any time.
                                                                                     andlor   :
                                                          Alr        Reseryed,
                                                                                  t'
                                                                             Cc
                                    Alket Dajani @,
                                    Secured Parly Uen                    Representative for
                                    ALKET DAJANI @
                                    Wthout Prejudice


                                Witness and Acknowledgement
Connectlcut State                                       County
A living             before me, a Recordino Secretary/Notrary, on this         day
of                                  zoL{tniAlket Dafani @ personally appaared and
known to me to   the man whose name is referened within the instrument and
acknowledged to be the
                                                           bt
Autograph

My Notary Commission expires:



Private Easements Schedule                 Penalty for Private Use $250,000

Public Easements Schedule                  Penalty for Public Use $250,000

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 These fees will be mandated upon the informant listed on the traffic
                                                                      citation ticket(s),
 arest warrants, detention orders, seizure orders.
 Froduce trade name mratenials:

 a. Name                                          $50,000
 b. Drivers License Number                        $50,000
 c. $ocial Security Number                       $100,000
 d. Retinal Scans                                $5,000,000
 e. Fingerprinting                               $200,000
 f. Photographing                                $200,000
 s. DNA                                          $5,000,000
        1. Mouth swab                            $5,000,000
        2. Blood samples                         $5,000,000
        3. Urine samples                         $5,000,000
        4. Breathalyzer testing                  $5,000,000
        5. Hair samples                          $5,000,000
        6. Skin samples                          $5,000,000
        7. Clothing samples                      $5,000,000
        8. Forced giving of fluids/samples       $5,000,000
lssue Tnaffrc citations and tickets of any traffic nature;

       a. Citations                              $60,000
       b. Warning lssued on Paper    Ticket      $25,000

Appearamee !n eoetrt hecause sf tnaffie eitations:

       a.Time in   court                         $75,000/hr with t hour min
       b. lf Fine is imposed                     $500,000
Gar / Fersomal Froper$ Tnespass, Carjaeking, Theft, lntensenence with eommence,


a. Agency by Estoppel                                   $50,000
b" Color of Law                                         $150,000
c. lmplied Color of Law                                 $150,000
d. Criminal Coercion                                    $500,000
e. Criminal Contempt of court                          $500,000
                                  Page 2 of B




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       Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 27 of 32
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 f. Estoppelby Election                                $350,000
 g. Estoppel by Laches
                                                       $350,000
 h. Equitable Estoppel
                                                       $500,000

 i. Fraud                                             $1,000,000
 j. Fraud upon the court                              $2,000,000
 k. Larceny                                           $250,000
 l. Grand Larceny                                     $250,000
 m. Larceny by Extortion                              $1,000,000
 n. Larceny by Trick                                  $1,000,000
o. Obstruction of Justice                             $100,000
p. Obtaining Property by False pretenses
                                                      $1,000,000
q. Simulating Legal Process
                                                      $1,000,000
r. Vexatious Litigation                               $5,000,000
s. Trespass upon Motor Conveyance                     $100,000
t. Unauthorized Relocation of Motor Conveyance       $100,000
u. Seizure of Motor Conveyance                       $100,000
v. Theft of License Plate                            $10,000
w" Unlawful Lien on Motor Conveyance                 $50,000




Use of trade naEme pnoteeted rnaterial r,rnder threat, duressn and/ on
                                                                         eoeneion:
      a. Name wriften by the   informant             $250,000
      b. Drivers License wriften by informant        $150,000

      c. social security Numberwritten by informant g150,000

      d- Miscellaneous Materiarwritten by informant $so0,0oo

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      Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 28 of 32
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Froduee amy persomal imsonmatiom/pnoperty for amy klnd of busicxess Emteraetiotr:

       a. Financial   inforrnation                    $100,00CI

       b. Properly inside motor vehicle               $150,000

Time lJsage fon traffic s8ops:

       a. 30 minutes                                  $5,000/30 minutes

       b.60 minutes                                   $10,000

      c. 90 minutes                                   $15,000



Gourt Appearamce $chedule

These fees MUST be paid immediately after my case is finished. Failure to pay fines
and fees will have an additional fee of 95000.00 for breach of contract.

Demand for Appearamce im court:

      a. My Appearance

             1. under protest and   duress: 975,000/hour
             2"   Voluntarily                   $10,000/hour



Use of trade name material

      a. Name

             1. under protest and duress:             $25,000

             2. Voluntarily                           $10,000

      b. Drivers License

             1. under protest and duress:             $25,000

             2. Voluntarily                          $10,000

      c. $ocial $ecurity Number

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               1. under protest and duress                 $25,000

               2. Voluntarily                              $10,000

        d. Miscellaneous Material                         $25,000


        e. Produce any personal information for any kind of business interaction:

               1" Financiallnformation                    $10,000

               2. Drivers License                         $10,000

               3. Social $ecurity Number                  $250,000

              4, Any documents produced by me             $10,000 per document



T"ime usage for count appearanees:

       a. 30 minutes

               1. Under Protest and Duress                $33,500

              2.Voluntarily                               $10,000


       b. 60 minutes

              1. Under Protest and   Duress               $75,000

              2.   Voluntarily                            $20,000

       c. IOminutes or more
              1. Under Protest and   Duress               $100,500

              2. Voluntarily                              $30,000
                                    TnesBass,Fee Selredule

Trespass by public official(s), police officer(s), judge(s), attorney(s), Corporation(s)and
         other ficiional entities as well as all others who desire to contract:

       l.Fallure to honor God Given Rights                             $20,000
                                            Page 5 of B



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 2.Failure to honor Oath ofOffice                               $50,000
S.Failure to honor Constitutional Oath                         $50,000
4.Failure to honor Written and/or OralWord                     $5,000

S.Silence/Dishonor/Defauli                                     $5,000
6. Failure to honor /No Bond                                   $5,000
7. Phone call to telephone number used by Secured
      Party including from alleged debt   collectors           $S,000each
B.Telephone message left on Secured party phone
      Service or   Equipment                                   $S,000each
9. Use of street address/mailing location of Secured party $5,000each

10. Time waiting for schedule   service                $1,0OOminimum or per hour

11. Detention from Free Movement and/or curfew. g75,000minimum or per hour

12.   lncarceration                                    g7s,0OOminimum or per hour

13. Failure to Follow Federal and/or State Statues,
       Codes, Rules and/or Regulations                         $50,000
14. Failure to State a Claim upon which Relief
       Can Be Granted                                          $25,000
15. Failure to Present a Living lnjured Party                  $100,000
l6.Failure to Provide Contract Signed by the parties          $100,000*
17. Failure to Provide IRS 1099OtD(s), and Other
IRS Reporting Form(s) Requirements upon Request               $100,000"
18. Default By Non Response or lncomplete Response            $100,000*
19. Fraud                                                     $'l,oo0,ooo"

20" Rackeieering                                              $1,000,000*

?1.Theft of Public Funds                                      $1,000,000u

22" Dishonor in Commerce                                      $1,000,000*

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           Case 3:24-cv-01059-VDO Document 1 Filed 06/18/24 Page 31 of 32
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           23.Failure to pay counterclairn in fullwithin (80) Thirty
                  Calendar Days of Default as set forth herein
                                                                                            $f ,000,000**
           24. Peruerting of Justice Judgment
                                                                                            $1,000,000"
           25'use of common-raw Trade-name/Trade+nark After
                    One Waming (per each occurrence)
                                                                                            $50,000each
           26. Forcing psychiatric evaluations
                                                                                           $500,000 per day
          27- Refusalto provide adequate and proper nutrition while
                    incarcerated                                                           $50,000 per day
          2E. Refusal to provide proper exereise while incarcerated
                                                                                           $s0,000 per day
          29. Refusal to provide proper dental care whire incarcerated
                                                                                           $80,000 per day
          30. Forced giving of body fluids
                                                                                           $ 5,000,000 per day
          31 . Forced injections/inoculations, vaccines
                                                                                           $5,000,000 each
          32. Forced separation from maniage contract
                                                                                           $160,000 per day
          33 .Confiscation/kidnapping of a body not a US Citizen                          $1,600,000 per day
          34- corporate state continuing a rnortgage for more charge
                than five years in violation of Banking Act of 1g6,4
                which takes precedence over cunent Statutes at large
                                                                     $1,600,000 per day
         35" Affempted extortion of funds from birth certificate
                  account, Social security account or any other
                  associated accounts by fraud, deception and
                  or Forgery by any agent, entity or corporation- $6,000,000 percountorcharge

         36. Attempted extortion ofsignature                                     $6,000,000 percountorcharge

         37. Attempted forgery of signature                                      $6,000,000 per count or charse


"Per Occunence and lncludes any Third party Defundant
* All claims are stated in US Dollars which means that
                                                           a US Dollar will be defined, for this purpose as a
One Ounce Silver Coin o!.99Qpure silver or the gqylvaJgn!
                                                                 eur o.lu" as estabtishio ov iu* or the
gxghange rate, as set.br the us Mint, whichev.er is the high6r amount, for a
                                                                                   certified one ounce Silver
Coin (US-Silver Dollar) at the time of the ftrst day of defarilt as r"i tortn rt"riq ir
                                                                                        ti.r" Jaim is to be paid in
Federal Reserue Notes, FederalReserve Notegwill onry oe assessed at parValue
                                                                                             as indicated above.

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 Total damages will be assessed as the total amount of the damage$ as set fssh
 henein times three (3) for a total of all damages as set forth in subsecfions a-w
 added to three {3) times the dan'lages fon Bunitive on other addltiomal damages"

 Kidnapping (lf an alleged officen rermoves free sou!
 xnore than S feet frorn free soul,s property wifhout
just cause, it lS kidnapping)                              95,000,{100
$enrices to sthers and/or Corporatiorr(s):

       a. Studying                                         $500 per hour
              while under threat, duress, coercion         $75,000 per hour
       b. Analyzing                                        $500 per hour
             while under threat, duress, coercion          $75,000 per hour
       c. Research                                         $500 per hour
             while under threat, duress, coercion          $75,000 per hour
      d. Prepaning Documents                               $500 per houn
             while under threat, duress, coercion          $75,000 per hour
      e. Answering Questions                              $500 per hour
            while under threat, duress, coercion          $75,000 per hour
      f. Providing lnformation                            $500 per hour
             while under threat, duress, coercion         $75,000 per hour



lf invoiced, payrnemt is due {S days after reeeipt date



Make all payments to:

Alket Dajani@
e/o 60 Oxem hlill Road
Trumhull, Gonmectieut near [066f tl




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